                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                     Crim. No. 5:19-444-D-1

UNITED STATES OF AMERICA                     )
     Plaintiff,                              )
                                             )
       v.                                    )
                                             )
JUAN CARLQS VALENCIA .                       )
     Defendant.                              )
                                             )



                                            ORDER


       Upon review of the defendant's Motion to Seal and for good cause appearing, it is hereby

ordered that the defendant be allowed to file under seal his Motion.



       IT IS SO ORDERED.

       This _i._ day of   (Jc:h, b               , 20 2.0




                                                       J ~ S C. DEVER III
                                                       UNITED STATES DISTRICT JUDGE




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